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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION


    RYAN VINCENT HILL                         CRIMINAL ACTION NO.
                                              1:15-CR-0109-3-AT
         v.
                                              CIVIL ACTION NO.
                                              1:19-CV-2608-AT
    UNITED STATES OF AMERICA
                                              EVIDENTIARY HEARING AND
                                              ORAL ARGUMENT REQUESTED



              BRIEF IN SUPPORT OF PETITIONER’S § 2255 MOTION


                                 BACKGROUND

        The parties have already adequately set forth both the procedural history of

this case, as well as the factual background.1 See, e.g. Government’s Response to 28

USC § 2255 [Doc 446] at pp. 1-5; U.S. v. Hill, 732 Fed App’x 759 (11th Cir. 2018)

(setting forth the factual basis for Petitioner’s direct appeal). Petitioner will not

repeat that history, except as necessary for presenting his arguments to the Court.




1
 Although proceeding pro se to this point, both Petitioner and the Government
have laid out the procedural and factual basis for arriving at this point.
                                          1
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                                   DISCUSSION

      Petitioner, proceeding pro se, has (perhaps inartfully, but that is of no legal

moment2), brought several issues to the Court in this § 2255 action.

      Primarily, Petitioner has asserted an ineffective assistance claim addressing

several specific aspects of prior counsel’s decisions/actions.3 We will address these

seriatim.

      First, prior counsel failed to file a petition for writ of certiorari based on the

Supreme Court’s decision in Sessions v. Dimaya, 138 SCt 1204, decided before

Petitioner’s appeal was decided by the Eleventh Circuit.4

      Some legal background is appropriate at this juncture. Some years before Mr.

Hill’s conviction, the Supreme Court struck down the ACCA’s5 residual clause in

Johnson v. United States, 576 US 591 (2015).6 Johnson addressed the residual

clause of the ACCA’s definition of “violent felony” which was defined in virtually

the same language as the residual clause of 924(c)(3)(B). That is to say, the Supreme



2
  See. E.g. Erickson v Pardus, 551 US 89 (2007) (§ 1983 action); Tannenbaum v.
U.S., 148 F3d 1262 (11th Cir. 1998) (§ 2255).
3
  Prior counsel, Albert Norton, Jr., was Petitioner’s trial and appellate counsel.
4
  Sessions was decided April 17, 2018; Appellant’s conviction as affirmed on April
25, 2018.
5
  Armed Career Criminals Act, 18 USC 924(e).
6
  That ruling was made retroactive in Welch v. United States, 136 SCt 1257
(2016).
                                           2
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Court had invalidated a provision virtually identical to the provisions under which

Petitioner had been sentenced during the pendency of his direct appeal.

       Indeed, that claim was presaged much earlier in James v. United States, 550

US 192 (2007) where at least three Justices indicated that a vagueness challenge to

the ACCA’s residual clause – and perhaps similar statutes – should be entertained.7

The train, as they say, was gathering steam. In short, the case law extant at the time

of Petitioner’s appeal – and certainly post-Sessions – gave counsel the foundation

for a viable petition for certiorari.

       Dimaya moved the bar forward as well. The Supreme Court – as presaged in

James – moved from the ACCA to other statutory provisions. In Dimaya, it was the

nearly identical residual clause of 8 USC § 16’s definition of “crime of violence.”

Dimaya held that § 16’s residual clause contained the same two elements that

conspired to render ACCA’s residual clause unconstitutionally vague. Dimaya was

decided before Petitioner’s appeal was decided. The train had reached full speed, the

track was clear and Petitioner was in a prime position to board.




7
 Scalia dissenting, joined by Stevens and Ginsburg, noting that the “shoddy
draftsmanship” of the ACCA’s residual clause left courts adrift. Indeed there were
then a number of challenges to the residual clause after James but before Johnson.
See US v. Devo, 457 F. App’x 910 (11th Cir. 2012); US v. LaCasse, 567 F3d 763,
765 (6th Cir. 2009); US v. Spells, 537 F3d 743, 753 n. 4 (2008).
                                          3
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      As we now know, the Supreme Court applied the same rationale once more to

strike down the residual clause of 924(c)(3)(B)’s definition of “crime of violence”

in US v. Davis, 139 SCt 2319 (2019). Davis explained that the teaching of Johnson

and Dimaya lead inevitably to the conclusion that this provision suffered the same

constitutional vagaries.

      So here we are. Some additional legal points now come into play also. It is

well established that, it is error to instruct a jury that it can convict on alternative

theories of guilt, one of which is invalid. Hedgpeth v. Pulido, 555 US 57, 58 (2008);

see also Yates v. United States, 354 US 298 (1957), overruled on other grounds by

Burks v. US, 437 US 1 (1978); Stromberg v. California, 283 US 359 (1931).

Petitioner assumes – but reserves the right to supplement this record – that the Court

charged Petitioner’s jury using the Eleventh Circuit Pattern Instructions. At the time

of Petitioner’s trial, the Eleventh Circuit Pattern Instruction on 924(c) – Offense

Instruction 35.4 – included both the “elements” clause and the invalid “residual

clause.” Petitioner’s case fits neatly into the aforementioned authority.8

      Let’s recap where we are so far. Petitioner was tried well after Johnson

invalidated the ACCA’s residual clause in 2015. Neither before, during, nor after



8
 No further definition of a “crime of violence” was charged, as Offense Instruction
35.4 denominated that question as “a question of law, not of fact.” How can that
be, since it – in itself – is an element of the 924(c) offense?
                                           4
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Petitioner’s trial in 2017 was any challenge and/or issue raised regarding the residual

clause of 924(c). At Petitioner’s trial, the jury was charged with alternate paths to

conviction – per Eleventh Circuit Offense Instruction 35.4 – one of which was

invalid. Although Dimaya was decided before Petitioner’s appeal was decided, no

vagueness challenge – nor cert petition was filed on behalf of Petitioner.

      Comes now United States v. Davis, 588 US ___ 139 SCt 2319 (2019). Davis

completed the Johnson to Dimaya double play.9 Davis invalidated the residual

clause in 924(c)(3)(B). That Davis is retroactive to cases on collateral review is clear.

See also Welch v. United States, 136 SCt 1257, 1264 (2016) (holding Johnson

announced a new rule and was therefore retroactive).

      Finding Petitioner’s claim relies on a retroactive rule breathes life into his §

2255 claim now before the Court.

      That Petitioner had “no right to counsel” is the Government’s attempt to divert

this Court’s attention from the issues themselves. With Dimaya decided before his

appeal, a number of options were available to counsel at that point: moving for a

stay and remand to this Court; moving for panel rehearing; moving for rehearing en

banc, etc. Simply giving up – particularly at that point – can’t be an effective option.


9
 Tinkers to Evers to Chance, the famous double play combination by the Chicago
Cubs immortalized in a poem by Franklin Pierce Adams in The New York Evening
Mail, July 12, 1910.
                                           5
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     DEVELOPING A RECORD AND REQUEST FOR ORAL ARGUMENT

       Suffice it to say that, on the face of this record, an evidentiary hearing is

necessary to flesh out the details of Petitioner’s claims. His claims are in no sense

“frivolous” nor are they “contradicted” by the record. Indeed, they are well grounded

in law and fact. An evidentiary hearing is warranted.10 In advance of ruling on either

the request for an evidentiary hearing and/or the petition itself, Petitioner requests

an opportunity for argument on the issues presented.




                                              Respectfully submitted,

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10
  Generally, the cases that decline to hold an evidentiary hearing arise in the
context of a guilty plea. The record is thus “complete” on its face. Not so here.
                                          6
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              CERTIFICATE OF COMPLIANCE AND SERVICE


      I hereby certify that this document was prepared using 14-point Times New

Roman font, and that I have caused a copy to be electronically filed with the Clerk

of Court using the CM/ECF system.




      This 5th day of April, 2021.




                                             /s/ Bruce S. Harvey




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